Case 5:20-cv-01749-DMG-SP Document 26 Filed 04/01/21 Page 1 of 3 Page ID #:106




   1   Joseph R. Manning, Jr., Esq. (SBN 223381)
   2
       MANNING LAW, APC
       20062 SW Birch St., Suite 200 Newport Beach, CA 92660
   3   Tel: (949) 200-8755 Fax: (866) 843-8308
   4
       DisabilityRights@manninglawoffice.com

   5   Attorneys for Plaintiff:
   6
       JAMES RUTHERFORD

   7   Mark R. Stapke, Esq. (SBN 108676)
   8   mstapke@stapkelaw.com
       Sandra J. Gamboa, Esq. (SBN 225448)
   9   sgamboa@stapkelaw.com
  10   STAPKE LAW, LLP
       100 Wilshire Blvd, Suite 700
  11   Santa Monica, CA 90401
  12   Tel: (310) 917-1015 / Fax: (310) 230-7800

  13   Attorneys for Defendant:
  14   FOOTHILL PLAZA SHOPPING CENTER, LLC

  15                      UNITED STATES DISTRICT COURT
  16
                        CENTRAL DISTRICT OF CALIFORNIA
  17

  18     JAMES RUTHERFORD, an                  Case No.: 5:20-cv-01749-DMG-SP
         individual,
  19                                           Hon. Dolly M. Gee
  20     Plaintiff,
                                               JOINT NOTICE OF SETTLEMENT
  21     v.
  22                                           Complaint Filed: August 28, 2020
         FOOTHILL PLAZA SHOPPING               Trial Date: None Set
  23     CENTER, LLC, a California limited
  24     liability company; and DOES 1-10,
         inclusive,
  25

  26     Defendants.
  27

  28          TO THE COURT, ALL PARTIES AND THEIR COUNSEL OF RECORD:
                              JOINT NOTICE OF SETTLEMENT
                                           1
Case 5:20-cv-01749-DMG-SP Document 26 Filed 04/01/21 Page 2 of 3 Page ID #:107




   1         Plaintiff, JAMES RUTHERFORD, and Defendant, FOOTHILL PLAZA
   2
       SHOPPING CENTER, LLC (the “Parties”) have reached a settlement in this
   3

   4
       matter and expect to file a joint stipulation for dismissal of the action pending

   5   completion of certain terms of the confidential settlement agreement.
   6
       Dated: April 1, 2021                     MANNING LAW, APC
   7

   8                                           By:   /s/ Joseph R. Manning, Jr. Esq.
   9                                                 Joseph R. Manning, Jr., Esq.
                                                     Attorneys for Plaintiff,
  10                                                 James Rutherford
  11
       Dated: April 1, 2021                          STAPKE LAW, LLP
  12

  13                                           By:   /s/ Mark R. Stapke
                                                      Mark R. Stapke
  14                                                 Attorney for Defendant,
  15                                                 Foothill Plaza Shopping Center, LLC

  16                             CERTIFICATE OF SERVICE
  17         I certify that on April 1, 2021, I electronically filed the foregoing document
  18   with the Clerk of the Court using CM/ECF. I also certify that the foregoing
  19   document is being served this day on counsel of record in this action via email
  20   transmission and via transmission of Electronic Filing generated by CM/ECF.
  21                                                  Respectfully submitted,
  22

  23   Dated: April 1, 2021                          MANNING LAW, APC
  24                                           By:   /s/ Joseph R. Manning, Jr. Esq.
                                                     Joseph R. Manning, Jr., Esq.
  25                                                 Attorneys for Plaintiff
  26                                                 James Rutherford
  27

  28

                                 JOINT NOTICE OF SETTLEMENT
                                              2
Case 5:20-cv-01749-DMG-SP Document 26 Filed 04/01/21 Page 3 of 3 Page ID #:108




   1                             SIGNATURE ATTESTATION
   2
             Pursuant to Civil L.R 5-4.3.4(a)(2)(i), I hereby attest that all other
   3

   4
       signatories listed, and on whose behalf the filing is submitted, concur in this

   5   document’s content and have authorized the filing of this document with the use
   6
       of their electronic signature.
   7

   8

   9   Dated: April 1, 2021                           MANNING LAW, APC
  10                                           By:    /s/ Joseph R. Manning, Jr. Esq.
  11                                                  Joseph R. Manning, Jr., Esq.
                                                      Attorneys for Plaintiff
  12                                                  James Rutherford
  13

  14

  15

  16

  17

  18

  19

  20

  21

  22

  23

  24

  25

  26
  27

  28

                                 JOINT NOTICE OF SETTLEMENT
                                              3
